                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

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COMMODITY FUTURES TRADING :
     COMMISSION,                  :
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           Plaintiff/Appellee,    :
                                  :
           v.                     : Civil Action No.1:12-CV-11799-RGS
                                  :
JOHN B. WILSON, and               :
JBW CAPITAL, LLC,                 :
                                  :
           Defendants/Appellants. :
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                       NOTICE OF APPEAL OF
     DEFENDANTS/APPELLANTS JOHN B. WILSON AND JBW CAPITAL, LLC

       NOW COME the Defendants/Appellants (hereinafter the “Defendants”), John B. Wilson

(hereinafter “Wilson”) and JBW Capital LLC (hereinafter “JBW Capital” or “JBW”), pursuant to

the Federal Rules Civil Procedure and the Rules of Appellate Procedure of the United States

Court of Appeals for the First Circuit, and hereby respectfully appeal the Judgment, Orders, and

Decisions below and as entered by the U.S. District Court for the District of Massachusetts (the

“District Court”) as to the claims, causes of action, and allegations of the Plaintiff/Appellee

(hereinafter the “Plaintiff”), U.S. Commodity Futures Trading Commission (hereinafter “CFTC”

or the “Commission”), against the Defendants, including but not limited to the District Court’s

Judgment, Orders, and Decisions as follows:

       1)     the Judgment of the District Court of Massachusetts, dated October 5th, 2014;

              and/or

       2)     the District Court’s Memorandum and Order on Plaintiff’s Motion for Summary

              Judgment, dated May 16th, 2014, granting summary judgment for the Plaintiff,



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including but not limited, upon the following issues:

a)     the District Court’s decision and findings that material facts were not in

       dispute in its Decision to grant the Plaintiff’s Motion for Summary

       Judgment;

b)     the District Court’s Decision to grant the Plaintiff’s Motion for Summary

       Judgment on the Plaintiff’s claims as matters of law;

c)     the District Court’s decision and findings that “state of mind”, “motive”,

       and/or “intent” were not material facts in dispute in its Decision to

       Plaintiff’s Motion for Summary Judgment;

d)     the District Court’s decision and findings as to the appropriateness of

       summary judgment as to disputed material facts as to “state of mind”,

       “motive”, and/or “intent”, and its improper application of the standard

       permitting summary judgment when a nonmoving party rests merely upon

       conclusory     allegations,       improbable   inferences,   and   unsupported

       speculation;

e)     the District Court’s decision and findings as a matter of law in its

       application of the standard that a nonmoving party rests merely upon

       conclusory     allegations,       improbable   inferences,   and   unsupported

       speculation as to “state of mind”, “motive”, and/or “intent” in its Decision

       to grant the Plaintiff’s Motion for Summary Judgment,

f)     the District Court’s decision and findings denying, as a matter of law, the

       Defendants’ “advice-of-counsel” defense in its Decision to grant the

       Plaintiff’s Motion for Summary Judgment;




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g)   the District Court’s decision and findings that material facts were not in

     dispute as to the Defendants’ “advice-of-counsel” defense as to its

     application to the advice of the Defendants’ certified public accountants

     (the “CPA’s”), in its Decision to grant the Plaintiff’s Motion for Summary

     Judgment;

h)   the District Court’s decision and findings that material facts were not in

     dispute as to the whether the Defendants acted in good faith in the belief

     that they had a good cause for their actions and not in seeking an opinion

     to shelter themselves in the Defendants’ “advice-of-counsel” defense in its

     Decision to grant the Plaintiff’s Motion for Summary Judgment;

i)   the District Court’s decision and findings that material facts were not in

     dispute as to the whether the Defendants made a full and honest disclosure

     of all the material facts within their knowledge or belief in the Defendants’

     “advice-of-counsel” defense in its Decision to grant the Plaintiff’s Motion

     for Summary Judgment;

j)   the District Court’s decision and findings that material facts were not in

     dispute as to the whether the Defendants were doubtful of their legal rights

     in the Defendants’ “advice-of-counsel” defense in its Decision to grant the

     Plaintiff’s Motion for Summary Judgment;

k)   the District Court’s decision and findings that material facts were not in

     dispute as to the whether the Defendants had reason to know that their

     counsel was competent in the Defendants’ “advice-of-counsel” defense in

     its Decision to grant the Plaintiff’s Motion for Summary Judgment;




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l)   the District Court’s decision and findings that material facts were not in

     dispute as to the whether the Defendants honestly complied with their

     counsel’s advice in the Defendants’ “advice-of-counsel” defense in its

     Decision to grant the Plaintiff’s Motion for Summary Judgment;

m)   the District Court’s decision and findings that material facts were not in

     dispute as to the whether the Defendants’ counsel was of such training and

     experience that they were able to exercise prudent judgment on such

     matters in the Defendants’ “advice-of-counsel” defense in its Decision to

     grant the Plaintiff’s Motion for Summary Judgment;

n)   the District Court’s decision to apply the securities law, as “compelling

     analogy” as a matter of law, as to the Defendants’ failure to register under

     the commodities laws, in its Decision to grant the Plaintiff’s Motion for

     Summary Judgment;

o)   the District Court’s decision and findings that, as a matter of law, “state of

     mind,” “motive”, and/or “intent” are inapplicable as to the Defendants’

     failure to register under the commodities laws, in its Decision to grant the

     Plaintiff’s Motion for Summary Judgment;

p)   the District Court’s decision and findings that material facts were not in

     dispute as to “state of mind,” “motive”, and/or “intent” to the Defendants’

     failure to register under the commodities laws, in its Decision to grant the

     Plaintiff’s Motion for Summary Judgment;

q)   the District Court’s decision and findings, as a matter of law, in its

     application of the standard of strict liability under the securities laws




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     registration requirements as to the Defendants’ failure to register under the

     commodities laws, in its Decision to grant the Plaintiff’s Motion for

     Summary Judgment;

r)   the District Court’s decision and findings that material facts were not in

     dispute as to “recklessness” of the Defendants in its Decision to grant the

     Plaintiff’s Motion for Summary Judgment;

s)   the District Court’s decision and findings, as a matter of law, as to the

     “recklessness” of the Defendants, in its Decision to grant the Plaintiff’s

     Motion for Summary Judgment;

t)   the District Court’s decision and findings that material facts were not in

     dispute as to the “reliance” of third-parties on representations of the

     Defendants, in its Decision to grant the Plaintiff’s Motion for Summary

     Judgment;

u)   the District Court’s decision and findings that, as a matter of law, in

     exclusion of “reliance” of third-parties on representations of the

     Defendants, from its application of the standard of liability, in its Decision

     to grant the Plaintiff’s Motion for Summary Judgment;

v)   the District Court’s decision and findings that, as a matter of law, liability

     under Sections 6o(1)(A) and/or 6o(1)(B) of the Commodities Exchange

     Act, does not require “scienter”, in its Decision to grant the Plaintiff’s

     Motion for Summary Judgment;

w)   the District Court’s decision and findings that as to calculation and

     determination of civil penalties as to the Defendants’ conduct, in its




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     Decision to grant the Plaintiff’s Motion for Summary Judgment;

x)   the District Court’s decision and findings, as a matter of law, in its

     application of the standard for civil penalties as to the Defendants’

     conduct, in its Decision to grant the Plaintiff’s Motion for Summary

     Judgment;

y)   the District Court’s decision and findings in its denial of the Defendants’

     Motion for an Evidentiary Hearing and denial of the submission of

     evidence as to civil penalties as to the Defendants’ conduct, in its Decision

     to grant the Plaintiff’s Motion for Summary Judgment; and/or

z)   the District Court’s decision to deny the Defendants’ Motion to Compel

     Plaintiff Commodity Futures Trading Commission to Provide Discovery,

     to Deem Certain Matters as Admitted, and for Sanctions, dated October

     4th, 2013, solely as to the Defendants’ Requests for Admissions to the

     Plaintiff.




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      WHEREFORE, the Defendants respectfully request that the United States Court of

Appeals for the First Circuit review and reverse the District Court on the issues and matters

referenced above, make such findings and rulings of law as may be consistent therewith, and

thereafter remand the instant action to the U.S. District Court for a trial on the merits, and for

such other relief as the Court of Appeals deems just and appropriate.



                                            Respectfully Submitted,
                                            DEFENDANTS/APPELLANTS, JBW Capital,
                                              LLC and John B. Wilson

                                            By their Attorneys,




                                                /s/ Philip M. Giordano
                                            Philip M. Giordano, Esq. (BBO # 193530)
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Dated: November 4, 2014




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                                    CERTIFICATE OF SERVICE

         I, Philip M. Giordano, hereby certify that on this 4th day of November 2014, I filed the
Defendants’ Notice of Appeal, using the CM/ECF system, which will provide electronic notice
to counsel of record of all parties, and by first class mail, postage prepaid, to counsel for the
parties.


                                                    /s/ Philip M. Giordano
                                                    Philip M. Giordano
Dated: November 4, 2014




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